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ICIAL PANEL ON MUL TIDISTRICT LITIGA TION

 

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(SEE A TTA CHED sCHED ULE) _, _i__ §§
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CONDITIONAL TRANSFER ORDER (CTO-I§) §;; _* z
ee§ ':
On February l6, 2005, the Panel transferred 138 civil actions to the United States District (Yurt foi&n)e g

Eastem District of Louisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.
§ 1407. Since that time, 735 additional actions have been transferred to the Eastern District of

Louisiana. Witli the consent ofthat court, all such actions have been assigned to the Honorable Eldon E.
Fal]on.

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to Judge Fallon.

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Pursuant to Rule 7.4 ofthe Ruies of Procedure ofthe Judicial Panel on Multidistrict Litigation. 199
l".R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastem District
of louisiana for the reasons stated in the order of February l6, 2005, 360 F.Supp.Zd 1352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office ofthe Clerl< ofthe United States
District Court for the Eastern District of Louisiana. The transmittal ofthis order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
ofthe Panel within this fifteen (15) day period1 the stay will be continued until further order ofthe Panel_

FOR THE PANEL:

 

 

 

 

 

      

 

 

 

 

 

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Case 1:05-cv-Oll42-.]DT-STA Document 9 Filed 08/01/05 Page 2 of 4 Page|D 7

UNITED STATES DISTRICT COURT

EASTERN Disriucr oF LoulslANA
OFFICE oF THE CLERK

LORETTA G. WHYTE 500 PoYDRAs ST., RooM C-l§l

 

CLERK Nsw ORLEANs, LA 70130
July 28, 2005
Robert Di Trolio, C-lerk § 3 :U
United States Distrlct Court §§ __j § m
Western District of Tennessee "`L_FPB`; :; m ,»*)
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J'ackson, TN 38301 ',,i; 5_:61; ,,_o _;;
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in Re; MDL 1657 vioxx Producrs Liabnity Lirigau'@n vour ease NO. C.A. 1:05- isn Cia&oan§;
v. Merck & Co., Inc.
Our Case No. C.A. 05-3219 L (3)

Dear Mr. Di Trolio:

Enclosed is a certified copy of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. It instructs that the case listed above be transferred to our district for disposition

pursuant to Title 28 USC 1407, as soon as possible Our office has assigned a new civil action number
to this case as referenced above.

DO NOT FORWARD THE ()RIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet

and the MDL Transfer Order, together with a copy of the transfer letter be forwarded to the transferor
court.

 

Due to the hi h volume of cases involved in this liti ation lease rovide

a er co ies of the above documents instead of sim l referrin to our website.
Your prompt attention in this matter is greatly appreciated

 

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)539-7704.

Very truly o ,
Loretta G. te, Cler

By
Deputy Clerk

Enclosures

cc; ludicial Panel on Mu]tidistrict Litigation

Case 1:05-cv-Oll42-.]DT-STA Document 9 Filed 08/01/05 Page 3 of 4 Page|D 8

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
ThOmaS M. GOuld l ll South Highland Ave., Roorn 262
Clerk Of COuI“t Jackson, Tennessee 3830]

731-421-9200
'/'31-421-9210 Fax

August 3, 2005

United States District Court
Eastern District of Lousiana

500 Poydras St., Room C-l$l
New Orleans, LA 70130

RE: Clara Dancy vs. Merck & Co., Inc., Et al.,
05-3219 L (3) -Your Case No.
05-1142 T/Ari -Our Case No.

Dear Clerk:

Pursuant to the Conditional Transfer Order (CTO-l 5) the above referenced case has been transferred to the
United States District Court for the Eastern District of Louisiana . Please find enclosed a certified copy of
the Notice of Rcmoval, Lower Court Complaint, Docket Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. I am also enclosing a copy of this cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelope. Thanl< you for your attention in
this matter

Thomas M. Gould, Clerk

BY:C,M

Deputy Clerk

ENCLOSURES

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-Ol 142 was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed

 

 

Kathryn E. Barnett

LIEFF CABRASER HEIMANN & BERNSTEIN, LLP- Nashville
One Nashville Place

150 4th Ave., N.

Ste. 1650

Nashville, TN 372 l 9--242

Charles C. Harrell

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

l\/lemphis7 TN 38119

Honorable J ames Todd
US DISTRICT COURT

